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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


   PENGUIN RANDOM HOUSE
   LLC, HACHETTE BOOK
   GROUP, INC., HARPERCOLLINS
   PUBLISHERS LLC,
   MACMILLAN PUBLISHING
   GROUP, LLC, SIMON &
   SCHUSTER, LLC,
   SOURCEBOOKS LLC, THE
   AUTHORS GUILD, JULIA
   ALVAREZ, JOHN GREEN,
   LAURIE HALSE ANDERSON,
   JODI PICOULT, ANGIE
   THOMAS, HEIDI KELLOGG and
   JUDITH ANNE HAYES,

                   Plaintiffs,

   v.                                           Case No. 6:24-cv-1573-CEM-RMN

   BEN GIBSON, RYAN PETTY,
   ESTHER BYRD, GRAZIE P
   CHRISTIE, KELLY GARCIA,
   MARYLYNN MAGAR, TERESA
   JACOBS, ANGIE GALLO,
   MARIA SALAMANCA, ALICIA
   FARRANT, PAM GOULD, VICKI-
   ELAINE FELDER, KAREN
   CASTOR DENTEL, MELISSA
   BYRD, JAMIE HAYNES, ANITA
   BURNETTE, RUBEN COLON,
   CARL PERSIS, and JESSIE
   THOMPSON,

                   Defendants.
                                        /


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                                         ORDER

         THIS CAUSE is before the Court on Defendants Ben Gibson, Ryan Petty,

   Esther Byrd, Grazie P Christie, Kelly Garcia, and Marylynn Magar’s (collectively,

   “State Defendants”) Motion to Dismiss (“Motion,” Doc. 85-1), to which Plaintiffs

   filed a Response (Doc. 94), and State Defendants filed a Reply (Doc. 100). For the

   reasons set forth below, the Motion will be denied.

                                   I.     BACKGROUND

         In 2023, the State of Florida passed HB 1069. (Compl., Doc. 1, at 22). The

   bill amends section 1006.28 of the Florida Statutes, which permits the removal of

   school library books if parents object to their content. (See HB 1069, Doc. 1-1, at

   12–21). Under the amended statute, the State Board of Education must create an

   objection form to facilitate the objection process. (Id. at 13). Parents may object to

   material that “[i]s pornographic or prohibited under s. 847.012” or “[d]epicts or

   describes sexual conduct as defined in s. 847.001(19).” (Id. at 13–14); Fla. Stat

   § 1006.28(2)(a)2.b.(I), (II). Plaintiffs challenge the definitions State Defendants

   have used in construing the statute when promulgating the template objection form.

   (Doc. 1 at 4–6). “The part of the form that lists the bases for objections ‘must not be

   modified by school districts.’” (Id. at 18 (quoting Fla. Admin. Code r. 6A-7.0714)).

   Among others, the template form State Defendants created lists the following bases

   for an objection: “[t]he material is pornographic”; “[t]he material is prohibited under




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   Section 847.012, F.S.”; and “[t]he material depicts or describes sexual conduct as

   defined in Section 847.001(19), F.S.” (Specific Material Objection Template, Doc.

   1-2, at 3). Plaintiffs bring three counts seeking declaratory relief against State

   Defendants. In Count I, Plaintiffs challenge the prohibition of material that

   “describes sexual conduct” as an impermissible overbroad content-based restriction

   in violation of the First Amendment. (Doc. 1 at 60–66). In Count II, Plaintiffs seek

   a declaration that the term “pornographic” is synonymous with “harmful to minors.”

   (Id. at 66–69). In Count III, which is pled in the alternative to Count II, Plaintiffs

   challenge the prohibition of material that is “pornographic” as an impermissible

   overbroad content-based restriction in violation of the First Amendment. (Id. at 69–

   74). State Defendants now move to dismiss Counts I through III pursuant to Federal

   Rules of Civil Procedure 12(b)(1) and 12(b)(6).

                                II.    LEGAL STANDARD

         State Defendants begin by arguing there is no justiciable controversy. Flast v.

   Cohen, 392 U.S. 83, 95 (1968) (“[N]o justiciable controversy is presented . . . when

   the parties are asking for any advisory opinion . . . and when there is no standing to

   maintain the action.”). A challenge to Article III standing implicates subject matter

   jurisdiction. Lujan v. Defenders of Wildlife, 504 U.S. 555, 559–60 (1992). Likewise,

   subject matter jurisdiction is implicated if the Court is asked to issue an advisory

   opinion. Flast, 392 U.S. at 96 (“[T]he implicit policies embodied in Article III, and




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   not history alone, impose the rule against advisory opinions on federal courts.”).

   Pursuant to Federal Rule of Civil Procedure 12(b)(1), a party may move to dismiss

   the claims against it for “lack of subject-matter jurisdiction.”

         “Attacks on subject matter jurisdiction . . . come in two forms: ‘facial attacks’

   and ‘factual attacks.’” Garcia v. Copenhaver, Bell & Assocs., M.D.’s, P.A., 104 F.3d

   1256, 1260–61 (11th Cir. 1997) (quoting Lawrence v. Dunbar, 919 F.2d 1525, 1529

   (11th Cir. 1990)). Here, Defendants make only a facial attack. “Facial attacks

   challenge subject matter jurisdiction based on the allegations in the complaint, and

   the district court takes the allegations as true in deciding whether to grant the

   motion.” Morrison v. Amway Corp., 323 F.3d 920, 925 n.5 (11th Cir. 2003).

         The remainder of the Motion argues that Plaintiffs have failed to state a claim,

   which is analyzed under Federal Rule of Civil Procedure 12(b)(6). “A pleading that

   states a claim for relief must contain . . . a short and plain statement of the claim

   showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Pursuant to

   Federal Rule of Civil Procedure 12(b)(6), a party may move to dismiss a complaint

   for “failure to state a claim upon which relief can be granted.” In determining

   whether to dismiss under Rule 12(b)(6), a court accepts the factual allegations in the

   complaint as true and construes them in a light most favorable to the non-moving

   party. See United Techs. Corp. v. Mazer, 556 F.3d 1260, 1269 (11th Cir. 2009).

   Nonetheless, “the tenet that a court must accept as true all of the allegations




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   contained in a complaint is inapplicable to legal conclusions,” and “[t]hreadbare

   recitals of the elements of a cause of action, supported by mere conclusory

   statements, do not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

   Furthermore, “[t]o survive a motion to dismiss, a complaint must contain sufficient

   factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

   face.’” Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim

   has facial plausibility when the plaintiff pleads factual content that allows the court

   to draw the reasonable inference that the defendant is liable for the misconduct

   alleged.” Id. Ordinarily, in deciding a motion to dismiss, “[t]he scope of the review

   must be limited to the four corners of the complaint.” St. George v. Pinellas Cnty.,

   285 F.3d 1334, 1337 (11th Cir. 2002).

                                     III.   ANALYSIS

         A.     Standing

         The jurisdiction of federal courts is limited to “Cases” or “Controversies.”

   U.S. Const. art. III. “A proper case or controversy exists only when at least one

   plaintiff establishes that she has standing to sue—i.e., that she has suffered, or will

   suffer, an injury that is concrete, particularized, and actual or imminent; fairly

   traceable to the challenged action; and redressable by a favorable ruling.” Murthy v.

   Missouri, 603 U.S. 43, 57 (2024) (internal citation and quotation marks omitted)

   (cleaned up). “The latter two requirements—traceability and redressability—often




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   travel together.” Support Working Animals, Inc. v. Gov. of Fla., 8 F.4th 1198, 1200

   (11th Cir. 2021).

         State Defendants first argue that Plaintiffs’ alleged injury is not fairly

   traceable to and thus not redressable by a decision against them because they only

   have general supervisory authority over the true actors removing books—the local

   school boards. (Doc. 85-1 at 6–9). “When traceability and redressability are at stake,

   the key questions are who caused the injury and how it can be remedied.” City of S.

   Miami v. Gov. of Fla., 65 F.4th 631, 640 (11th Cir. 2023). And “even harms that

   flow indirectly from the action in question can be said to be ‘fairly traceable’ to that

   action for standing purposes.” Focus on the Fam. v. Pinellas Suncoast Transit Auth.,

   344 F.3d 1263, 1273 (11th Cir. 2003). In rejoinder, Plaintiffs point to State

   Defendants’ role in creating the objection form as required by the challenged state

   statute and that State Defendants’ interpretation of the statute is at the root of

   Plaintiff’s alleged injury here. (Doc. 94 at 17–18).

         State Defendants’ reliance on City of South Miami is misplaced. That case

   involved the plaintiffs “challeng[ing] a state law that require[d] local law

   enforcement to cooperate with federal immigration officials.” 65 F.4th at 634. The

   Eleventh Circuit held that the plaintiffs’ “alleged injury [wa]s neither traceable to

   the governor or attorney general nor redressable by a judgment against them because

   they do not enforce the challenged provisions” because the law only “operate[d] on




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   officials at the local level.” Id. at 634, 641. While the law in City of South Miami

   only allowed “the governor and attorney general to sue state and local officers to

   enjoin violations of the statute,” id. at 635, the statute here both operates on State

   Defendants and affords them far greater authority to implement and enforce the law.

         Who caused the injury? While it may be local officials that physically remove

   the books, it is State Defendants’ interpretation of the statute—contained in the

   objection form—that Plaintiffs challenge in this action. The form “requires the

   objector to ‘[i]dentify the basis for your objection’ under Section 1006.28 and lists

   multiple separate bases for objections for the objector to select, including that the

   book (a) is ‘pornographic,’ (b) is ‘prohibited under s. 847.012, F.S.’ as harmful to

   minors, or (c) ‘depicts or describes sexual conduct as defined in s. 847.001(19),

   F.S.’” (Doc. 1 at 18 (alteration in original)). Plaintiffs seek two forms of declaratory

   relief against State Defendants. First, that “describes sexual conduct” is an overbroad

   content-based restriction under the First Amendment. (Id. at 59). Second, that

   “pornographic” is synonymous with “harmful to minors,” (id. at 65), or in the

   alternative, that “pornographic” is an overbroad content-based restriction under the

   First Amendment, (id. at 68). Because the objection form is “prescribed by State

   Board of Education rule,” pursuant to section 1006.28(2)(a)2. of the Florida Statutes,

   State Defendants are at the root of Plaintiffs’ alleged injury.




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         How can it be remedied? Local school boards have no power to change the

   objection form of their own accord because the form “must not be modified” apart

   from specific enumerated allowances to assist in user-friendliness. Fla. Admin. Code

   r. 6A-7.0714(3) (c), (d); (see also Doc. 1 at 18). Thus, the remedy sought by

   Plaintiffs amounts to a demand that the language in the objection form be altered.

   And that cannot be done unless State Defendants do so.

         Furthermore, the “State Board of Education must approve or reject the

   recommended decision” of an appointed special magistrate if a parent disagreed with

   a school board’s decision on an objection. Fla. Stat. § 1006.28(2)(a)6. And unlike

   City of South Miami, the statute also imposes an additional duty on State Defendants

   because it notes “[t]he State Board of Education shall adopt rules, including forms,

   necessary to implement this subparagraph.” Id. Therefore, Plaintiffs’ alleged injury

   is both fairly traceable to the challenged action and redressable by a favorable ruling.

         State Defendants then argue that any possibility of their enforcing the

   challenged provisions is too removed in the chain of contingencies for Plaintiffs to

   allege an injury. (Doc. 94 at 9–10). However, that argument overlooks State

   Defendants’ role in promulgating the challenged language in the objection form and

   adopting rules to implement the statute at issue, which the Court has addressed

   above. Furthermore, Plaintiffs allege several books have already been removed

   pursuant to that statute. (See, e.g., Doc. 1 at 3 (“Maya Angelou’s I Know Why the




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   Caged Bird Sings, Ralph Ellison’s Invisible Man, Ernest Hemingway’s For Whom

   the Bell Tolls, Zora Neale Hurston’s Their Eyes Were Watching God, Aldous

   Huxley’s Brave New World, Toni Morrison’s The Bluest Eye, Leo Tolstoy’s Anna

   Karenina, Richard Wright’s Native Son, Kurt Vonnegut’s Slaughter-House Five,

   and Alice Walker’s The Color Purple are some of the many books that the State of

   Florida has required be removed from school libraries.”)).

          Even if Plaintiffs sought pre-enforcement review, “a [First Amendment]

   plaintiff satisfies the injury-in-fact requirement where he alleges ‘an intention to

   engage in a course of conduct arguably affected with a constitutional interest, but

   proscribed by a statute, and there exists a credible threat of prosecution thereunder.’”

   Susan B. Anthony List v. Driehaus, 573 U.S. 149, 159 (2014) (quoting Babbitt v.

   Farm Workers, 442 U. S. 289, 298 (1979)). Here, author and publisher Plaintiffs

   seek to provide students access to books in a public school library that may be

   removed under the challenged statute, and parent Plaintiffs want their children to

   have access to those books. (Doc. 1 at 13–17). State Defendants implement the

   challenged statute and have ultimate review authority over a school board’s decision.

   (See id. at 28).

          Lastly, State Defendants make an argument that “the First Amendment right

   to information does not grant ‘the right to sue over someone else’s censorship’—

   here, the alleged censorship of authors—merely because the plaintiff ‘claim[s] an




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 interest in that person’s speech.’” (Doc. 100 at 5 (quoting Murthy, 603 U.S. at 75)).

 This is wrong. The quoted material from Murthy v. Missouri addressed plaintiffs’

 standing argument under their argument that they have a “right to listen” to other

 social-media users. Id. at 74–75.

       Censorship of social-media posts is readily distinguishable from that of

 published authors. See Minarcini v. Strongsville City School Dist., 541 F.2d 577,

 583 (6th Cir. 1976) (finding “right of students to receive information which they and

 their teachers desire them to have” and standing for student plaintiffs to challenge

 the removal of school library books). The Supreme Court has “identified a

 cognizable injury . . . where the listener has a concrete, specific connection to the

 speaker.” Murthy, 603 U.S. at 75. Just as “prescription-drug consumers had an

 interest in challenging the prohibition on advertising the price of those drugs,” id.

 (citing Virginia Board of Pharmacy v. Virginia Citizens Consumer Council, Inc.,

 425 U.S. 748, 756–57 (1976)), parents have an interest in challenging the prohibition

 of school library books they and their children desire to read. Thus, Plaintiffs have

 standing.

       B.     Advisory Opinion

       State Defendants argue that Plaintiffs ask the Court for an advisory opinion in

 Count II because the Declaratory Judgment Act does not provide a standalone cause

 of action. (Doc. 85-1 at 11). “As is well known, the federal courts established




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 pursuant to Article III of the Constitution do not render advisory opinions. For

 adjudication of constitutional issues, ‘concrete legal issues, presented in actual cases,

 not abstractions,’ are requisite. This is as true of declaratory judgments as any other

 field.” United Public Workers v. Mitchell, 330 U.S. 75, 89 (1947) (footnotes

 omitted). Thus, the ban on advisory opinions stems from Article III’s case or

 controversy requirement.

       Likewise, the Declaratory Judgment Act provides that “[i]n a case of actual

 controversy within its jurisdiction, . . . any court of the United States, upon the filing

 of an appropriate pleading, may declare the rights and other legal relations of any

 interested party seeking such declaration, whether or not further relief is or could be

 sought. 28 U.S.C. § 2201. That is, all that must exist for a court to render declaratory

 relief is what must exist in every case—an Article III case or controversy. Here, there

 is. See supra Section III.A.

       In Count II, Plaintiffs seek a declaration that “the term ‘pornographic’ as used

 in section 1006.28 is synonymous with the term ‘harmful to minors.’” (Doc. 1 at 69).

 On its face, Plaintiffs request looks rather like the relief sought in Mitchell. There,

 the plaintiffs sought a declaration that a sentence in the Hatch Act preventing

 government employees from acting as poll watchers was unconstitutional, and the

 Supreme Court found no justiciable controversy. 330 U.S. at 86–91. The Court

 distinguished that particular circumstance from others, characterizing the threat of




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 harm in Mitchell as a “general threat by officials to enforce those laws which they

 are charged to administer” rather than a “direct threat of punishment against a named

 organization for a completed act that made . . . [other] cases justiciable.” Id. at 88.

       Here, the Court is faced—at the least—with a situation where Plaintiffs are

 experiencing a direct threat of enforcement against them. Plaintiffs allege books

 have been and are being removed from public school libraries across the state. (See,

 e.g., Doc.1 at 3, 13–17). The objection form containing the interpretation of the

 statute Plaintiffs challenge in Count II is promulgated by State Defendants and

 cannot be altered by the local school boards. Fla. Admin. Code r. 6A-7.0714(3) (c),

 (d); (see also Doc. 1 at 18). Therefore, the declaratory relief sought would resolve

 the case or controversy before the Court.

       Furthermore, under Florida law, “[g]enerally speaking, individuals may

 challenge the validity of a statute in a declaratory judgment action.” Wilson v. Cnty.

 of Orange, 881 So. 2d 625, 631 (5th DCA 2004) (citing Martinez v. Scanlan, 582

 So. 2d 1167 (Fla. 1991)); see also Fla. Stat. § 86.021 (“Any person . . . whose rights,

 status, or other equitable or legal relations are affected by a statute, or any regulation

 made under statutory authority . . . may have determined any question of

 construction or validity arising under such statute[ or] regulation . . . and obtain a

 declaration of rights, status, or other equitable or legal relations thereunder.”).




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       State Defendants proceed to argue that Plaintiffs’ request also runs afoul of

 the Eleventh Amendment as an intrusion on state sovereignty. (Doc. 85-1 at 11–13).

 Relying on Pennhurst State School and Hospital v. Halderman, 465 U.S. 89 (1984),

 State Defendants contend that if the Court grants Plaintiffs the redress they seek, it

 will “instruct[ ] state officials on how to conform their conduct to state law,” id. at

 106. That is not so. If the Court finds for Plaintiffs on Count II and issues the sought

 declaration, it will only find State Defendants’ interpretation of section 1006.28 is

 in violation of the United States Constitution. (See Doc. 1 at 68). That would not

 violate the Eleventh Amendment because “a suit challenging the constitutionality of

 a state official’s action is not one against the State.” Pennhurst, 465 U.S. at 102–03

 (explaining the Supreme Court’s holding in Ex parte Young, 209 U.S. 123 (1908),

 and subsequent history).

       Any declaration issued would ultimately instruct State Defendants on how to

 conform their conduct to the restrictions imposed by the First Amendment,

 incorporated against the states by the Fourteenth Amendment, not state law and not

 the state constitution. Neither of which may violate the United States Constitution.

 See U.S. Const. art. VI, cl. 2 (“This Constitution, and the Laws of the United

 States . . . shall be the supreme Law of the Land; and the Judges in every State shall

 be bound thereby, any Thing in the Constitution or Laws of any State to the Contrary




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 notwithstanding.”). Therefore, Plaintiffs request neither an advisory opinion nor

 relief that violates the Eleventh Amendment. Count II survives, for now.

       C.     Shotgun Pleading

       Beyond Federal Rule of Civil Procedure 8(a)(2)’s requirement that a pleading

 contain “a short and plain statement of the claim showing that the pleader is entitled

 to relief,” Rule 10(b) requires a party to “state its claims . . . in numbered paragraphs,

 each limited as far as practicable to a single set of circumstances.” “The failure to

 identify claims with sufficient clarity to enable the defendant to frame a responsive

 pleading constitutes a ‘shotgun pleading.’” Beckwith v. Bellsouth Telecomms. Inc.,

 146 F. App’x 368, 371 (11th Cir. 2005) (quoting Byrne v. Nezhat, 261 F.3d 1075,

 1029–30 (11th Cir. 2001)).

       The Eleventh Circuit has defined four types of shotgun pleadings. “The most

 common type—by a long shot—is a complaint containing multiple counts where

 each count adopts the allegations of all preceding counts, causing each successive

 count to carry all that came before and the last count to be a combination of the entire

 complaint.” Weiland v. Palm Beach Cnty. Sheriff’s Office, 792 F.3d 1313, 1321

 (11th Cir. 2015). The second most common type “is a complaint that . . . is guilty of

 the venial sin of being replete with conclusory, vague, and immaterial facts not

 obviously connected to any particular cause of action.” Id. at 1322. “The third type

 of shotgun pleading is one that commits the sin of not separating into a different




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 count each cause of action or claim for relief.” Id. at 1322–23. “Fourth, and finally,

 there is the relatively rare sin of asserting multiple claims against multiple

 defendants without specifying which of the defendants are responsible for which

 acts or omissions, or which of the defendants the claim is brought against.” Id. at

 1323.

         Initially, State Defendants attempt to assert the complaint is some version of

 the most common type of shotgun pleading, (Doc. 85-1 at 2–3), relying on Clifford

 v. Federman, 855 F. App’x 525, 529 (11th Cir. 2021). In Clifford, “the majority of

 the 52 counts incorporated almost the entirety of the fact section of the complaint,

 consisting of 249 paragraphs and 104 pages.” Id. Here, each of the 7 counts

 incorporates 163 paragraphs over 58 pages, and the factual allegations span 106

 paragraphs. However, each count does not “carry all that came before and the last

 count [is not] a combination of the entire complaint.” Barmapov v. Amuial, 986 F.3d

 1321, 1325 (11th Cir. 2021) (quoting Weiland, 792 F.3d at 1321). Despite State

 Defendants’ arguments, their thorough and detailed Motion addressing the claims

 brought by Plaintiffs belies any argument that the complaint is a shotgun pleading.

 See Weiland, 792 F.3d at 1323 (“The unifying characteristic of all types of shotgun

 pleadings is that they fail to one degree or another, and in one way or another, to

 give the defendants adequate notice of the claims against them and the grounds upon

 which each claim rests.”).




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        Next, State Defendants aver the complaint commits the second sin. They

 provide only a single example of this purported violation, noting Plaintiffs did not

 identify which school districts allegedly removed certain books and how those

 removals were relevant to the claims against State Defendants. (Doc. 85-1 at 4).

 However, Plaintiffs have explained that their claims against State Defendants stem

 from “the supervision and authority of the State Defendants” in the book removal

 process. (Doc. 1 at 25). The Complaint is also not “rife with immaterial factual

 allegations.” Barmapov, 986 F.3d at 1325 (explaining allegations about certain

 defendants alleged criminal history were “irrelevant” and noting other

 “inconsequential details”). And neither is it a “rambling ‘shotgun’ pleading that is

 so disorganized and ambiguous that it is almost impossible to discern precisely what

 it is that these [Plaintiffs] are claiming.” Cramer v. Florida, 117 F.3d 1258, 1261

 (11th Cir. 1997). 1

        Finally, State Defendants argue Count I commits the third sin because within

 the First Amendment overbreadth cause of action is an allegation regarding

 interference with the students’ First Amendment right to receive information. (Doc.

 85-1 at 5). However, Count I is brought by both the authors and publishers as well


        1
           Another reason to reject this argument is the other Defendants have been able to parse the
 complaint, filing answers, (Doc. Nos. 81 and 82), and amended answers, (Doc. Nos. 87 and 88).
 Cf. Chudasama v. Mazda Motor Corp., 123 F.3d 1353, 1359 n.9 (11th Cir. 1997) (finding a
 shotgun pleading where “[m]any of the factual allegations appear to relate to only one or two
 counts, or to none of the counts at all” and “a reader of the complaint must speculate as to which
 factual allegations pertain to which count”).



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 as parents, on behalf of their student children. As noted above, the Supreme Court

 has “permitted First Amendment claims by those who did not themselves intend to

 engage in speech, but instead wanted to challenge a restriction on speech they

 desired to hear.” Renne v. Geary, 501 U.S. 312, 319 (1991); see also Kleindienst v.

 Mandel, 408 U.S. 753, 762–63 (1972) (“This freedom (of speech and

 press) . . . necessarily protects the right to receive . . . .” (alternation in original)).

 Furthermore, “Federal Rule of Civil Procedure 10(b) requires parties to limit claims

 ‘as far as practicable to a single set of circumstances,’ and to state in a separate count

 or defense ‘each claim founded on a separate transaction or occurrence . . . .’ The

 separation of claims, however, is required by Rule 10(b) ‘only when necessary to

 facilitate a clear presentation.’” Amegy Bank Nat’l Ass’n v. Deutsche Bank Corp.,

 917 F. Supp. 2d 1228, 1232–33 (M.D. Fla. 2013) (quoting Wright & Miller, 5A Fed.

 Prac. & Proc. Civ. § 1324 (3d ed.)). “The [overbreadth] [ ] claim is inextricably tied

 to the [right to receive information] claim and the two claims relate to a single set of

 circumstances.” Id. Therefore, the Complaint will not be dismissed as a shotgun

 pleading.

        D.    Failure to State a Claim

        “There is perhaps no more important place for guarding free speech principles

 than in our Nation’s schools.” ACLU of Fla. v. Mia.-Dade Cnty. Sch. Bd., 557 F.3d

 1177, 1235 (11th Cir. 2009). State Defendants make three arguments that HB 1069




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 does not violate the First Amendment. First, selection of public library books is

 government speech. (Doc. 85-1 at 13–21). Second, the government has no obligation

 to provide school libraries, which they characterize as a gratuitous benefit. (Id. at

 21–23). Third, even if the First Amendment applied here, Plaintiffs would only be

 entitled to rational basis review and would fail under that standard. (Id. at 23–25).

 At this stage, each argument fails.

              1.     Government Speech

       “If private speech could be passed off as government speech by simply

 affixing a government seal of approval, government could silence or muffle the

 expression of disfavored viewpoints.” Matal v. Tam, 582 U.S. 218, 235 (2017).

 “Because characterizing speech as government speech strips it of all First

 Amendment protection under the Free Speech Clause, we do not do so lightly.”

 Mech v. Sch. Bd. of Palm Beach Cnty., Fla., 806 F.3d 1070, 1074 (11th Cir. 2015)

 (internal citation and quotation marks omitted).

       In Shurtleff v. City of Boston, the Supreme Court recently outlined a “holistic

 inquiry” for courts to determine if the government intends to speak, which is guided

 by consideration of the following factors: (1) “the history of the expression at issue”;

 (2) “the public’s likely perception as to who (the government or a private person) is

 speaking”; and (3) “the extent to which the government has actively shaped or

 controlled the expression.” 596 U.S. 243, 252 (2022). The Eleventh Circuit has




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 considered a corresponding list of factors: history, endorsement, and control. See

 Cambridge Christian Sch., Inc. v. Fla. High Sch. Athletic Ass’n, Inc., 942 F.3d 1215,

 1230 (11th Cir. 2019).

       Although the Eleventh Circuit has yet to address the issue before the Court,

 its sister circuit has in GLBT Youth in Iowa School Task Force v. Reynolds, 114 F.4th

 660, 667 (8th Cir. 2024). There, the Eighth Circuit applied the Supreme Court’s

 approach in Shurtleff to reject arguments that removing books from public school

 libraries was government speech, id., distinguishing the case upon which State

 Defendants rely: Pleasant Grove City v. Summum, 555 U.S. 460 (2009). In Summum,

 the Court held that “the placement of a permanent monument in a public park is best

 viewed as a form of government speech.” Id. at 464. But the Eighth Circuit found

 “reliance on that case unavailing as public school libraries do not share the

 characteristics of monuments in a park.” Reynolds, 114 F.4th at 667.

       Furthermore, “[f]acilitating speech by private persons cannot constitute

 government speech unless the government assigns a power to speak to those persons

 or appropriates the products of their expressive activity to express its own message.”

 Shurtleff, 596 U.S. at 271 (Alito, J. concurring). And “[f]or the adopted expression

 to qualify as the government’s, the private party must alienate control over the

 medium of expression to the government. And government actors must put the

 medium to use to intentionally express a government message. Otherwise, the




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 government is simply providing a forum for private parties to submit their own

 productions and usual First Amendment principles apply.” Id. at 270–71 (internal

 citations omitted).

       In the past, however, the D.C. Circuit has indicated that “[w]ith respect to the

 public library, the government speaks through its selection of which books to put on

 the shelves and which books to exclude.” People for the Ethical Treatment of

 Animals, Inc. v. Gittens, 414 F.3d 23, 28 (D.C. Cir. 2005); see also Bryant v. Gates,

 532 F.3d 888, 898 (D.C. Cir. 2008) (Kavanaugh, J. concurring) (“As the case law

 makes clear, ‘government speech’ can include not only the words of government

 officials but also ‘compilation of the speech of third parties’ by government entities

 such as libraries, broadcasters, newspapers, museums, schools, and the like.” (citing

 Gittens, 414 F.3d at 28)). State Defendants argue this Court should follow the D.C.

 Circuit’s approach because there is no distinction between removing and collecting

 books. (Doc. 100 at 3). After having just relied on the dissenting arguments in Board

 of Education v. Pico, 457 U.S. 853 (1982), for that proposition—in the same

 breath—State Defendants take issue with Plaintiffs’ citations to Pico, noting that the

 Eleventh Circuit has stated the decision has no precedential value. (Id. at 3–4). State

 Defendants cannot have their cake and eat it too.

       While the more recent persuasive authority favors Plaintiffs, “the factors that

 the Eleventh Circuit has used to determine whether something is government




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 speech—e.g., history, endorsement, control—are fact-intensive and generally not

 amenable to resolution at the motion to dismiss stage.” PEN Am. Ctr., Inc. v.

 Escambia Cnty. Sch. Bd., 711 F. Supp. 3d 1325, 1331 (N.D. Fla. 2024) (internal

 citation omitted). And given the similarity to the Shurtleff inquiry, to make the

 finding State Defendants seek, the Court must be provided a “robust enough record

 to determine whether [the collection of books selected for a school library]

 constitutes government speech.” Gundy v. City of Jacksonville, 50 F.4th 60, 77 (11th

 Cir. 2022). At this stage, the Court cannot find that the selection or removal of books

 in a public school library is government speech.

              2.     Government Subsidy

       Next, State Defendants argue that removing books from a public school

 library does not violate the First Amendment because the State is only withdrawing

 a benefit that facilitates First Amendment rights. (Doc. 85-1 at 21). State Defendants

 are correct that “a legislature’s decision not to subsidize the exercise of a

 fundamental right does not infringe the right, and thus is not subject to strict

 scrutiny.” Regan v. Tax’n With Representation of Wash., 461 U.S. 540, 549 (1983).

 However, the case law cited by State Defendants is inapposite.

       In Ysursa v. Pocatello Education Association, the Court rejected a First

 Amendment challenge to a state law that banned payroll deductions for union

 political activities. 555 U.S. 353, 355 (2009). The Court explained that although




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 “publicly administered payroll deductions for political purposes can enhance the

 unions’ exercise of First Amendment rights . . . the State’s decision not to do so is

 not an abridgment of the unions’ speech; they are free to engage in such speech as

 they see fit. They simply are barred from enlisting the State in support of that

 endeavor.” Id. at 359. Likewise, State Defendants argue that because students may

 access the removed books and the authors and publishers may provide students those

 books through other avenues, the restriction does not infringe upon their First

 Amendment rights. That is incorrect.

        First, the statute does not evenhandedly withdraw access to public school

 libraries or particular books throughout the state as did the law in Ysursa by

 prohibiting payroll deductions for union political activity. See Zykan v. Warsaw

 Community School Corp., 631 F.2d 1300, 1308 (7th Cir. 1980) (explaining an

 administrator may not “remove a book from the library as part of a purge of all

 material offensive to a single, exclusive perception of the way of the world, any more

 than he or she may originally stock the library on this basis”). Second, speech is

 being restricted here, not funding.2 The availability of the removed books from other

 sources does not alleviate this fact.



        2
           State Defendants also cite to Rust v. Sullivan, 500 U.S. 173 (1991). However, that case
 was entirely about funding. Id. at 193 (“The Government can, without violating the Constitution,
 selectively fund a program to encourage certain activities it believes to be in the public interest,
 without at the same time funding an alternative program which seeks to deal with the problem in
 another way.”).



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        “Restraint on expression may not generally be justified by the fact that there

 may be other times, places, or circumstances available for such expression.”

 Minarcini, 541 F.2d at 582. The Sixth Circuit elaborated in regard to school library

 books as follows:

                If one of the English teachers considered Joseph Heller’s
                Catch 22 to be one of the more important modern
                American novels (as, indeed, at least one did), we assume
                that no one would dispute that the First Amendment’s
                protection of academic freedom would protect both his
                right to say so in class and his students’ right to hear him
                and to find and read the book. Obviously, the students’
                success in this last endeavor would be greatly hindered by
                the fact that the book sought had been removed from the
                school library. The removal of books from a school library
                is a much more serious burden upon freedom of classroom
                discussion than the action found unconstitutional in Tinker
                v. Des Moines Independent Community School District. 3

 Id. (citation omitted).

        State Defendants also argue that Plaintiffs fail to acknowledge that “[t]o fulfill

 their traditional missions, public libraries must have broad discretion to decide what

 material to provide to their patrons.” United States v. Am. Libr. Ass’n, 539 U.S. 194,

 204 (2003). However, it is State Defendants that fail to grapple with the fact that

 discretion is what this statute removes. What the Court is faced with today is a

 regime built around not a librarian’s sound judgment but rather any parent’s


        3
          In that case, the Supreme Court found students’ wearing of black armbands in protest of
 the Vietnam War was protected speech under the First Amendment where “[t]hey neither
 interrupted school activities nor sought to intrude in the school affairs or the lives of others.” 393
 U.S. 503, 514 (1969).



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 objection, however capricious. What Plaintiffs appear to allege is that school

 librarians have been stripped of their broad discretion because they must remove

 objected to books that do not contain obscene material and may not undertake a

 “holistic evaluation or consideration of their literary, artistic, political, or scientific

 value.” (Doc. 1 at 32, 35–36). Therefore, the Court finds State Defendants’

 government subsidy argument unpersuasive.

              3.     Standard of Review

       Finally, State Defendants argue that even if the First Amendment applied here,

 Plaintiffs would only be able to receive rational basis review under Hazelwood

 School District v. Kuhlmeier, 484 U.S. 260 (1988), and their arguments fail under

 that standard. (Doc. 85-1 at 23). In Hazelwood, the Court held “that educators do not

 offend the First Amendment by exercising editorial control over the style and content

 of student speech in school-sponsored expressive activities so long as their actions

 are reasonably related to legitimate pedagogical concerns.” Id. at 273. Plaintiffs

 argue that such argument is premature and incorrect. (Doc. 94 at 16).

       In ACLU of Florida v. Miami-Dade County School Board, where the plaintiffs

 challenged the removal of single book from a school library, 557 F.3d at 1182–83,

 the court explained that “[t]he argument against applying the Hazelwood standard

 here is that this is not a school newspaper situation, and the speech at issue does not




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 form part of a course of study in a school’s curriculum. This is a school library book

 case.” ACLU of Fla., 557 F.3d at 1202. As is the case here.

       While the court left the issue unresolved there, the Eleventh Circuit previously

 interpreted the Hazelwood decision as “an application of [the Cornelius] standard to

 a curricular program.” Searcey v. Harris, 888 F.2d 1314, 1319 (11th Cir. 1989). In

 Cornelius v. NAACP Legal Defense Fund, the Supreme Court explained that in a

 nonpublic forum, First Amendment restrictions may “be based on subject matter and

 speaker identity so long as the distinctions are reasonable in light of the purposes

 served by the forum and are viewpoint neutral.” 473 U.S. 788, 806 (1985). And

 while the Eleventh Circuit has applied Hazelwood to uphold the removal of optional

 readings that contained “explicit sexuality and excessively vulgar language” from

 an elective course, that was because the books were specifically related to the

 curriculum. Virgil v. Sch. Bd. of Columbia Cnty., Fla., 862 F.2d 1517, 1521–23 (11th

 Cir. 1989). Important to Virgil’s holding, the court “note[d] that the disputed

 materials have not been banned from the school. The Humanities textbook and other

 adaptations of Lysistrata and The Miller’s Tale are available in the school library.”

 Id. at 1525. So, it is not a foregone conclusion that Plaintiffs lose under Hazelwood

 as State Defendants contend. Nevertheless, at this stage, the Court will not decide

 whether the standard applies in this case. Therefore, State Defendants’ Motion will

 be denied.




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                             IV.     CONCLUSION

       Accordingly, it is ORDERED and ADJUDGED that State Defendants’

 Motion to Dismiss (Doc. 85-1) is DENIED.

       DONE and ORDERED in Orlando, Florida on February 28, 2025.




 Copies furnished to:

 Counsel of Record




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